                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                              CRIMINAL NO. 3:05cr00104-8-W
 UNITED STATES OF AMERICA,                      )
                                                )
        vs.                                     )
                                                )                     ORDER
 KELVIN LAMONT BEAUFORT,                        )
                                                )
                Defendant.                      )
                                                )

       THIS MATTER is before the Court on Defendant’s letter received by the Court on January

11, 2007, requesting the Court to “please place me back on Federal Probation on house arrest until

[sentencing].” Under the Bail Reform Act of 1984, Defendant must be detained because he has been

found guilty of an “offense for which a maximum term of imprisonment of ten years or more is

prescribed in the Controlled Substances Act (21 U.S.C. § 801 et. seq)” and is awaiting imposition

of a sentence. See 18 U.S.C. § 3143(a)(2); 18 U.S.C. § 3142(f)(1)(c); cf. US v. Moffitt, 2006 WL

3240752 (W.D.N.C., November 7, 2006). Accordingly, Defendant’s request is DENIED

       IT IS, THEREFORE, ORDERED that Defendant’s request to be released from prison and

placed on house arrest is DENIED. The Clerk is DIRECTED to send a copy of this Order to Kelvin

Lamont Beaufort, PID # 201856, P.O. Box 34429, Charlotte, North Carolina 28234, and to

Defendant’s counsel of record in this matter.
                                                    Signed: January 18, 2007




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